MAY-1@-2885 14:22 US DEPT OF EDUCATION RG S_ 3G3 844 4695 P.@2
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March 29, 2005

Francine Hall Certified Mail
President ' Return Receipt Requested
Si Tanka University Receipt # 7004 0550 0001 0789 8208
435 North Elm Street .
PO Box 220 OPE ID: 03019200
Eagle Butte, SD 57625-0220 Duns: 119384063
Pell ID: 030192

RE: Reimbursement Notification
Dear Ms. Hall:

This is to inform you that the School Participation Team, NW-Denver (“Team”) has
transferred Si Tanka University (‘Institution’), located at 435 North Elm Street, and
all additional locations to a system of payment by reimbursement effective March
29, 2005. ;

Under the reimbursement system, the Institution may continue to obligate funds
under the Title IV, Higher Education Act, student financial assistance programs.
However, current Federal Title 1V cash on hand may be disbursed to eligible
students, only with the approval of the School Participation Team through the
reimbursement process.

if the Institution makes disbursements with its own funds in lieu of Title IV advance
payment, the U.S. Department of Education, (“Department”), will reimburse it for
properly documented expenditures. The Department reserves the right to offset
any Federal claims against these funds due to the Institution.

This action is authorized by Section 415 of the General Education Provisions Act, 20
U.S.C. 1226a-4, and by the following program regulations: 34 CFR 668.162(a) and
668.162(d), Student Assistance General Provisions; 34CFR 668.167(d) and
682.604(a)(3). Federal Family Education Loan Program.

The Department is taking this action because Si Tanka University failed to submit
tts September 30, 2001, September 30, 2002 and September 30, 2003 A-133
Audits. The institution now has three missing audits and the School Participation
Team; NW-Denver cannot renew the institution's PPA that expires on June 30,
2005 until the missing audits have been received through EZ-Audit.

1391 Speer Blud., Suite 800, Denver, Colorado 80204-2512

(303) 844-3677
(303) 844-4695 Fax

EXHIBIT 3
-16-208 72 S T OF EDUCATION RG 8 _. 303 844 4695 P.a3
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Ms. Francine Hall
Si Tanka University
Reimbursement Notification

Submiiting the required non-federal annual compliance audit within the regulatory
timeframe has become a systemic problem for the institution as presented below:

 
  
 

   
 
 

  
 

 

 

 

 

10/1/03-9/30/0

10/1/02-9/30/03 (6/30/04 273
10/1/01-9/30/02 [6/30/03 639
06/26/01-9/30/01 [6/30/03 639

 

 

 

 

 

The partial audit period 06/26/2001 — 09/30/01 results from the schools initial
application for participation effective 06/26/2001.

The Institution may contact the School Participation Team, NW-Denver to discuss
and show cause why this action is unwarranted. {f you wish to discuss this matter,
please call Harry C. Shriver Jr., Area Case Director at (303) 844-3677 ext. 116.

Enclosed are reimbursement instructions. As the instructions state, you must
submit separate cash requésts (ED Form PMS-270), for your Pell Grant, Perkins,
FFEL and Campus-Based Title IV requests. Please address any reimbursement
request along with the required supporting materials, as follows:

Joseph Hajek / Mitch Cary
Reimbursement Analysts

School Participation Team, NW-Denver
U.S. Department of Education

1391 Speer Blvd., Suite 800

Denver, CO 80204

In order to comply with the restrictions noted in this correspondence, the
Institution must follow the enclosed instructions for requesting
reimbursements.

If you have any questions concerning the reimbursement system of payment,
please contact Joseph Hajek at (303) 844-3677 ext 111.

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Ms. Francine Hall
Si Tanka University
Reimbursement Notification

Please note that the foregoing action does not preclude the U.S. Department of
Education from taking administrative action(s) against the Institution.

nC Me

Harry C. Shriver Jr.
Area Case Director
School Participation Team, NW-Denver

Sincerely,

Enclosure

cc: Ms. Robin Minor, Director, Case Management Teams - NW/SE
Ms. Mary Gust, Director, Administrative Actions and Appeals (AAA)
Ms. Sherrie Bell, AAA Liaison to School Participation Team, NW-Denver
Mr. Dan Whiting, Co-Team Leader, School Participation Team, NW-Denver
Mr. Asad Shahid, Institutional Review Specialist, School Participation Team,

NW-Denver |
Ms. Wynona Traversie, Financial Aid Director, Si Tanka University

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